       Case 3:22-cv-00178-SDD-SDJ             Document 41-1       05/13/22 Page 1 of 7




                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

____________________________________
                                    )
NAIRNE, et al,                      )
                                    )
                  Plaintiffs,       )
      v.                            )                Docket No. 3:22-cv-0178-SDD-SDJ
                                    )
                                    )
ARDOIN, et al.                      )
                                    )
                  Defendants,       )
____________________________________)


                 MEMORANDUM IN SUPPORT OF MOTION TO
            MOVE THE SCHEDULING CONFERENCE TO AN EARLIER
          DATE IN ORDER TO PREVENT A SITUATION IN WHICH FINAL
         JUDGMENT COMES TOO CLOSE TO THE ELECTION DEADLINES

     COME NOW, Plaintiffs, by and through undersigned counsel, who respectfully files this

Memorandum of Law in support of their request that this Honorable Court move the date for the

June 23 scheduling conference to the week of May 23 or May 31 and waive the 21 days deadline

for holding the Rule 26(f) conference for the parties.

I.   Introduction.

     This case involves a Voting Rights Act challenge to the district maps for the Louisiana

Senate and Houses of Representatives. Those elections and their deadlines fall on the latter half

of the 2023 calendar. In order to reach a final judgment before those deadlines in time to avoid

the risk of potentially coming up against the deadlines, trial would ideally begin early 2023 to

allow plenty of time for the appellate process to run its course during the spring and summer of

2023. In an effort to facilitate this process, Plaintiffs’ counsel twice reached out to Defendants’

                                                 1
         Case 3:22-cv-00178-SDD-SDJ             Document 41-1       05/13/22 Page 2 of 7




counsel with proposed deadlines in a draft status report, invited counsel to comment on the

proposed deadlines, asked for counsel’s availability for a Rule 26(f) conference and their consent

to move the scheduling conference forward. Other than one email to say they would reply with

an answer later – over a week ago—Plaintiffs have not received a response from Defendants.

The undersigned informed opposing counsel that it would file this motion should it not hear from

them.

        The Supreme Court disfavors injunctions involving state elections when an election is

imminent. Purcell v. Gonzalez, 549 U.S. 1, 4-6 (2006). In order to better avoid concerns like

those raised by Purcell Plaintiffs seek to expedite the timing of the scheduling conference.

II.      Plaintiffs attempts at resolution without court intervention.

         On March 25, 2022, this Court set a scheduling conference for June 23, 2022. Doc. 7, at

1. It ordered the parties to submit a status report before June 9 and to hold their Rule 26(f)

conference at least 21 days prior to the date of the scheduling conference. Id.

         On April 26, 2022, Plaintiffs’ counsel emailed a proposed status report to all counsel of

record. Exhibit A, Adcock Email, April 26, 2022; Exhibit B, Plaintiffs’ Draft Status Report. The

status report proposed the following deadlines:

                  Proposed Date                          Event
                 July 1              Deadline to join other parties
                 July 15             Plaintiffs disclose identities of experts
                 July 22             Defendants disclose identities of experts
                 Aug. 5              Plaintiffs turn over expert reports
                 Aug. 26             Defendants turn over expert reports
                 Oct. 1              Completion of all discovery incl. fact and
                                     expert discovery
                 Oct. 7              File dispositive / Daubert motions
                 Dec. 5              Deadline to file pretrial order
                 Dec. 19             Pretrial Conference
                 Dec. 23             Deadline for trial briefs
                 Jan. 17, 2023       Trial

                                                   2
        Case 3:22-cv-00178-SDD-SDJ                 Document 41-1         05/13/22 Page 3 of 7




Ex. B, at 4-6.1 In the same communication, Plaintiffs’ counsel informed all counsel as follows:

        Because we want to avoid the Purcell problems raised by litigating this case on a regular
        schedule, we would like to submit a status report to the court that has us trying this case
        in January 2023. To that end, attached is our draft status report. Do you have time later
        this week or next for our Rule 26(f) conference?

        For the same reasons, we would like your consent to our motion to move the status
        conference forward from June 23 to the week of May 23 or 31. Please advise as to your
        position.

        The attached draft includes a trial date of January 17, 2023, a fact and expert discovery
        period from June 1 to October 1 and an October 7 deadline for summary judgment
        motions.

        I look forward to hearing from you

Ex. A, at 1. Defense counsel did not respond to this email.

        On May 3, 2022, Plaintiff counsel emailed all counsel to say he had not received a

response to the April 26 email request and explained:

        I know many of us are busy with Robinson2; yet, I would like to address this soon so we
        are not jammed on time down the line.

        I plan to file a motion before Thursday or Friday this week to request that (1) the Court
        move the scheduling conference up to late May and (2) waive the 21 day period between
        our Rule 26(f) conference and the scheduling conference. Please provide me with (1)
        your position on the dates proposed in the attached status report or, if you are in
        disagreement, please propose alternative dates, (2) your position on moving up the
        scheduling conference and waiving the 21 day period, and (3) your availability for a Rule
        26(f) conference later this week.

Ex. A, at 2-3.

        Counsel for Secretary Ardoin responded to say he would discuss with his client and

colleagues. Counsel for the Attorney General responded to say, “From the AG’s standpoint, we

1
  Since this will be a bench trial, Plaintiffs removed the deadlines for motions in limine, jury instructions,
voir dire, verdict forms, and the affidavit of settlement efforts. Also, in order to expedite matters further,
Plaintiffs propose to do fact and expert discovery simultaneously.
2
  Robinson refers to the Voting Rights Act challenge to the Congressional maps set for preliminary
injunction hearing to begin May 9. Many of the attorneys serving as counsel on both sides of that case are
also enrolled as counsel in this case. See Robinson v. Ardoin, 22-211-SDD-SDJ.
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        Case 3:22-cv-00178-SDD-SDJ               Document 41-1         05/13/22 Page 4 of 7




can’t see a reason for altering the court’s customary practices and deadlines. If there’s a reason

we’re not aware of, let us know and we can consider it.”3 Ex. A, at 5.

        On the same day, the undersigned responded as follows:

        Thank you Mr. Farr.

        Mr. Jones, I mentioned the reasons in my original email: a normal MDLa trial schedule
        and subsequent appeal to the 5th Circuit would, generously speaking, put us into
        late2023, at the time of the elections at issue in this case. This timeline would potentially
        hinder any relief applicable to those elections according to Purcell v. Gonzalez, 549 U.S.1
        (2006). Hence, the reason I suggest an expedited schedule.

        I look forward to hearing your thoughts further.

Ex. A, at 6. Counsel for the Attorney General responded that they would be filing a stay.

        Having received no other response in a timely manner, this motion follows.

III.    Request for the Court.

        With this request, Plaintiffs aim to add in judicial efficiency and an orderly resolution of

Plaintiffs’’ claims.

        Supreme Court precedent cautions “lower federal courts [from] altering the election rules

on the eve of an election.” Republican Nat’l Committee v. Democratic Nat’l Committee, 140 S.

Ct. 1205, 1207 (2020) (per curium) (citing North Carolina v. League of Women Voters of N.C.,

574 U.S. 927 (2014) (mem.) (staying a lower court order that changed election laws thirty-two

days before the election); Husted v. Ohio State Conference of NAACP, 573 U.S. 988 (2014)

(mem.) (staying a lower court order that changed election laws sixty-one days before the

election); Purcell, supra (staying a lower court order that changed election laws thirty-three days

before the election). Moving the scheduling conference and its attendant deadlines forward by

approximately one month will be prudent given this precedent and the 2023 election deadlines.

3
 To date the Attorney General has only made an appearance on behalf of the State as part of the State’s
motion for intervention. However, they were included as a courtesy to this email exchange.
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        Case 3:22-cv-00178-SDD-SDJ              Document 41-1       05/13/22 Page 5 of 7




The qualifying period for the primary is August 8-10, 2023.4 It would significantly benefit all

parties and the general voting population in Louisiana for there to be certainty about the

Legislative districts at as early a date as possible.

IV.   Conclusion.

      For the foregoing reasons, Plaintiffs respectfully request that this Court (1) move the

Scheduling Conference to the week of May 23 or May 31 and (2) waive the requirement that the

Rule 26(f) conference be held within 21 days of the scheduling conference.

                                                Respectfully submitted,


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 The relevant dates can be found on the Secretary of State’s website, available at
https://www.sos.la.gov/ElectionsAndVoting/PublishedDocuments/ElectionsCalendar2023.pdf
(last visited April 26, 2022).
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       Case 3:22-cv-00178-SDD-SDJ   Document 41-1      05/13/22 Page 6 of 7




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       Case 3:22-cv-00178-SDD-SDJ       Document 41-1     05/13/22 Page 7 of 7




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